                              In the

    United States Court of Appeals
                 For the Seventh Circuit
                     ____________________
Nos. 22-3202 &amp; 23-1021
EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION,
                                                 Plaintiff-Appellee/
                                                  Cross-Appellant,

                                 v.

WAL-MART STORES EAST, L.P.,
                                              Defendant-Appellant/
                                                   Cross-Appellee.
                     ____________________

        Appeals from the United States District Court for the
                    Eastern District of Wisconsin.
       No. 1:17-cv-00070-WCG — William C. Griesbach, Judge.
                     ____________________

  ARGUED SEPTEMBER 21, 2023 — DECIDED AUGUST 27, 2024
                ____________________

   Before EASTERBROOK, ROVNER, and PRYOR, Circuit Judges.
    ROVNER, Circuit Judge. These cross-appeals come to us fol-
lowing a jury trial on a failure-to-accommodate disability
claim. Marlo Spaeth, an individual with Down syndrome, lost
her job with Wal-Mart after the company changed its work-
scheduling policies and Spaeth had difficulty in working the
2                                       Nos. 22-3202 &amp; 23-1021

new shift to which she was assigned. The Equal Employment
Opportunity Commission filed suit on Spaeth’s behalf under
the Americans with Disabilities Act, alleging that Wal-Mart
failed to accommodate Spaeth when it refused to reinstate
Spaeth to her former work schedule. 42 U.S.C. §§ 12112(a), (b).
A jury found in the EEOC’s favor and awarded compensatory
and punitive damages. The district court denied the EEOC’s
requests for injunctive relief. Wal-Mart now appeals the jury’s
adverse finding on liability along with the awards of compen-
satory and punitive damages. The EEOC cross-appeals the
district judge’s denial of injunctive relief. We affirm as to the
jury’s liability finding, the award of punitive damages, and
the award of compensatory damages. But we vacate and re-
mand for reconsideration as to the EEOC’s requests for in-
junctive relief.
                                I.
   Because the EEOC prevailed on the question of liability,
we recount the facts in the light most favorable to the jury’s
verdict. E.g., Dean v. Wexford Health Sources, Inc., 18 F.4th 214,
222 (7th Cir. 2021).
    Spaeth worked as a sales associate at a Wal-Mart Super-
center store in Manitowoc, Wisconsin, for over 15 years.
Spaeth was born with Down syndrome, which, in addition to
presenting with distinct physical characteristics, results in de-
velopmental delays and lifelong intellectual disability. Typi-
cally, persons with Down syndrome have the intellectual ca-
pabilities of a person aged four to 11 years old. Among other
limitations, Spaeth is unable to drive a car.
    According to the plaintiff’s expert, Dr. David Smith (a
Down syndrome specialist), routine is especially important
for someone with Down syndrome. “[I]f you take away that
routine, that often causes a great deal of stress for them.”
R. 246 at 142. Spaeth’s sister and current guardian, Amy Jo
Nos. 22-3202 &amp; 23-1021                                           3

Stevenson, testified that Spaeth “doesn’t have the mental fac-
ulties to process change. So it’s extremely difficult to change
the habits and routines.” R. 245 at 42. In the face of disruptions
to her routines, Stevenson said, Spaeth “will shut down and
try to ignore that we’re trying to change something” (id.) or
will “get[ ] frustrated, stress” and say that she is “too hot” (id.
at 43). Stevenson added that because Spaeth typically seeks to
avoid conflict, she might agree to do something that repre-
sented a departure from her routine but then fail to comply
with the requested change. “She will tell me what she thinks
I want to hear to appease me.” Id. at 43; see also id. at 140 (Dr.
Smith testified that individuals with Down syndrome do not
like conflict and try to please others).
    After Spaeth was hired by Wal-Mart in 1999, she was as-
signed to the domestics department, handling such tasks as
folding towels, putting away rugs, and tidying items in the
aisles. Wal-Mart managers uniformly testified that it was im-
mediately obvious to them that Spaeth had Down syndrome.
To supervise Spaeth, Wal-Mart selected department manag-
ers who were patient and would take the time to teach Spaeth
how to do her job. It also limited the types of tasks assigned
to her. For example, she was never asked to operate a cash
register.
   The Wal-Mart Supercenter in Manitowoc was open daily
and employed some 250 to 300 associates during Spaeth’s ten-
ure. Spaeth was originally assigned to work a 12:00 p.m. to
4:00 p.m. shift and typically worked up to four days per week,
excluding Thursdays and the weekend, when she was not
available to work. This schedule was established based on
Spaeth’s inability to drive and her need to rely on public
4                                         Nos. 22-3202 &amp; 23-1021

transportation, 1 as well as her inability to stand for periods of
time longer than four hours. Although Spaeth was able to ride
the bus by herself, she caught the bus at the same time each
day and had difficulty navigating a different bus schedule
without help. On arriving home at 5 p.m., Spaeth would eat
dinner and then watch the same television shows each night.
    Store managers later confirmed that Spaeth had some dif-
ficulty in adapting to changes in her work routines. Store Per-
sonnel Coordinator Karen Becker recalled an occasion early
in Spaeth’s employment when department managers at-
tempted to train Spaeth on a new task—folding bathroom
rugs—and Spaeth misunderstood what was being asked of
her. Spaeth’s mother called Becker and reported that Spaeth
thought she was being asked to clean store bathrooms. R. 245
at 137. During that same time period, Robin Castro was a
Zone Merchandise Supervisor of the home lines department
and worked with Spaeth directly for a period of one month.
(By the time of Spaeth’s discharge, Castro had become one of
two store Co-Managers—one level below that of the store
Manager.) Castro testified that she once asked Spaeth to dust
coffee pot displays and that Spaeth initially refused; but on
the third shift that Castro and Spaeth worked together, Spaeth
complied with the request and continued to dust the displays
thereafter without incident. R. 246 at 73. Bonnie Popp Ohlsen
first worked with Spaeth in 2010, when Ohlsen was an Assis-
tant Manager. (She was a store Co-Manager, along with Cas-
tro, at the time of Spaeth’s discharge.) Ohlsen taught Spaeth
how to handle returned store merchandise that needed re-
shelving. She testified that Spaeth at first resisted performing
that new task, but over a period of two to four weeks, she


    1 Bus transportation was not available on Saturday afternoons and

Sundays in Manitowoc, which is why Spaeth could not work on the week-
ends.
Nos. 22-3202 &amp; 23-1021                                        5

eventually adapted to the change. Ohlsen indicated that other
changes to Spaeth’s work routine involving new tasks re-
quired a similar period of adaptation. Ohlsen also recalled
that Spaeth, a Green Bay Packers fan, took great offense to an
adverse remark that Ohlsen had made in jest about the Pack-
ers: Spaeth thereafter avoided Ohlsen, and it was two weeks
before Spaeth would speak to her again. R. 247 at 54–58.
     Over the course of 15 years, Spaeth earned positive annual
performance evaluations and steady raises. Every one of the
15 annual written evaluations issued prior to her discharge
rated her as a solid performer who met the company’s expec-
tations (R. 245 at 108); a number of the evaluations rated her
as exceeding expectations in particular areas. Her June 2003
annual review indicated that Spaeth “[is] [g]reat with custom-
ers, love[s] to zone her Department [i.e., fold the towels and
otherwise straighten up the shelved items to make them look
attractive], and is a very hard worker.” That review identified
returning damaged merchandise as an area in which Spaeth
could improve. Trial Ex. 6 at 2, EEOC App. 180; R. 245 at 113.
Spaeth’s 2012 review noted that “Marlo is a pleasure to see
every day,” and that she “does a great job of zoning the towels
and rug area. She is here when scheduled.” The report identi-
fied retrieving and putting away returns in the domestics and
housewares departments as an “area of opportunity” for
Spaeth. Spaeth remarked to the evaluator that “I like my job.
I like to help people.” Trial Ex. 15 at 2, EEOC App. 182; R. 245
at 114–15. Her 2013 review reflected that
       Marlo has learned to get [her] own schedule
       without assistance. Marlo puts returns away on
       a daily basis and asks questions when she needs
       assistance. Marlo’s areas of opportunity would
       be her customer interactions and learning sur-
       rounding areas to assist customers locating
6                                              Nos. 22-3202 &amp; 23-1021

        items. Marlo, you do a great job zoning espe-
        cially in the bath areas.
Spaeth again remarked to the evaluator that she liked her job.
Trial Ex. 16 at 3, EEOC App. 185. Her 2014 review (the last
prior to her 2015 discharge) noted:
        Marlo is very good with zoning the domestics
        and housewares area. Marlo is very good at put-
        ting away the returns for her areas as well.
        Marlo helps customers find the items they are
        searching for and promotes the ten-foot rule
        [encouraging associates to greet any customer
        who approaches within ten feet of the associate
        and ask if the customer needs help]. Marlo has
        zero absences within a six-month rolling period.
Trial Ex. 17; R. 245 at 116. In none of her reviews was Spaeth
cited for attendance problems. 2




    2 As Wal-Mart’s attorneys pointed out at trial, there was a personnel

discussion with Spaeth in February 2012 regarding her attendance. Spaeth
had been absent without prior authorization on three days in January
2012, and she was counseled that she needed to show up for her scheduled
shifts. Trial Ex. 1006, Wal-Mart App. 333; R. 246 at 250–51; R. 247 at 68–70.
In addition, Wal-Mart noted that her time records from 2012 as well as
2013 reflect many instances in which she clocked out early (8 such occa-
sions in 2012, and 16 in 2013). Wal-Mart Br. 7; Trial Exs. 1006, 1010, Wal-
Mart App. 333–35; R. 246 at 250–51; R. 247 at 107–08. However, a review
of those time records reveals that in many instances, although Spaeth
clocked out of the store 10 or so minutes before the 4:00 p.m. end of her
shift, she had clocked into the store 10 or so minutes early on those same
occasions. R. 247 at 86–89. According to Ohlsen, Wal-Mart allowed asso-
ciates to clock in and out within 10 minutes of their designated start and
finish times. Id. at 86. So Spaeth was routinely working a full four-hour
shift. Apart from the February 2012 discussion regarding her January 2012
Nos. 22-3202 &amp; 23-1021                                                   7

     Things changed in November 2014, when Wal-Mart’s
home office in Bentonville, Arkansas, issued a directive that
managers were to cease making manual adjustments to
computer-generated staff work schedules in the absence of a
business justification for doing so. The computerized work
schedules were intended to ensure that staffing met the needs
of the store based on customer traffic patterns. Prior to this
announcement, store managers had possessed the discretion
to alter such schedules as they saw fit: indeed, managers at
the Manitowoc store had exercised this discretion in Spaeth’s
case in order to maintain her regular noon to 4:00 p.m. work
schedule. (That modified schedule had never presented a
problem for the domestics department to which Spaeth was
assigned so far as Personnel Coordinator Becker was aware.
R. 245 at 129, 131–32.) Under the new regime, although it was
still possible to manually alter a computer-generated work
schedule, managers no longer had the discretion to make such
changes unilaterally; any such adjustments were subject to “a
strict approval process.” R. 247 at 141. Moreover, if an
employee’s declared work availability (as disclosed on a form
that employees were required to complete) did not match the
scheduling generated by the computer system, he or she was
given no hours at all. This very thing happened to Spaeth in
the immediate aftermath of the policy change: Her work
availability form (completed in 2006) indicated she was
available only from 12:30 to 4:00 p.m. 3, and the computer did
not schedule her for any shifts. When Spaeth complained, she



absences, there is no evidence indicating that store managers regarded this
as a serious problem.
    3 It is not clear from the record why the form indicated that Spaeth’s

availability began at 12:30 p.m., when her longstanding shift had begun at
noon.
8                                             Nos. 22-3202 &amp; 23-1021

was advised that she would now need to accept a 1:00 to 5:30
p.m. shift, which she did.
    Spaeth had obvious difficulties in adapting to her new 1:00
to 5:30 p.m. schedule:
    She would often leave an hour or more early, sometimes
complaining to co-workers that she was feeling “hot,” and she
was absent without prior notice from some shifts altogether.
Spaeth remarked to her sister, Stevenson, that the new hours
reflected on her time slip were wrong because they were not
noon to 4:00 p.m., as they had always been before. Stevenson
testified that she telephoned Personnel Coordinator Becker
and asked that Spaeth’s schedule be switched back to the old
noon to 4:00 p.m. schedule because Spaeth was “getting too
hot, she wasn’t able to eat, and she was missing her bus to get
home.” R. 245 at 45. Stevenson explained to Becker that
“[b]ecause Marlo has Down syndrome she just couldn’t han-
dle working—she couldn’t physically handle working that
late” and “I asked her to have the hours changed back to noon
to 4:00 to restore the order.” Id. at 46. 4
   Although Stevenson thought that her phone call had taken
care of the issue, Wal-Mart kept Spaeth on the new 1:00 to 5:30
p.m. schedule, and Spaeth continued to leave early and/or
not show up, resulting in multiple attendance infractions.
Wal-Mart began to pursue disciplinary procedures, including
confronting Spaeth regarding the infractions. Assistant man-
ager Julia Stern conducted “coaching” sessions with Spaeth in
mid-December 2014 and again a month later. On both occa-
sions, Spaeth expressed a desire to return to her old schedule


    4 Becker denied that such a telephone call had ever taken place, but of

course the jury could have credited Stevenson’s testimony over Becker’s,
and at this stage of the proceedings, we are obligated to view the record
in the EEOC’s favor. Dean, 18 F.4th at 222.
Nos. 22-3202 &amp; 23-1021                                                  9

and voiced concerns about the new schedule, including wor-
ries about missing her bus or not eating her supper on time
and getting sick as a result. (Indeed, in nearly every conver-
sation with store managers regarding her new schedule,
Spaeth would recite her work hours as 12:00 to 4:00 p.m.—her
old schedule.) While Stern was talking to her during these ses-
sions, Spaeth sat and stared with her head down, as if she
might be crying. In February 2015, store Co-Manager Ohlsen
completed a new work availability form on Spaeth’s behalf,
indicating that Spaeth was available to work from 12:00 noon
to 6:00 p.m., and had Spaeth sign it. But Stern would later tes-
tify that each time she spoke with Spaeth about her attend-
ance, Spaeth indicated that she wanted to work from noon to
4:00 p.m. like she used to do.
    Store managers, in their trial testimony, indicated that
they did not understand Spaeth’s multiple requests to return
to her prior noon to 4:00 p.m. work schedule to be a request
for an accommodation to her disability. The new scheduling
protocols evidently were not popular with employees and
were the subject of many complaints and requests to revert to
the prior scheduling regime. Managers perceived Spaeth’s de-
sire to return to her old schedule as being no different from
the similar wishes of her co-workers. Consequently, they did
not entertain the possibility of seeking authority from their
superiors to restore Spaeth’s former work schedule. And,
apart from counseling Spaeth that she needed to adhere to the
new work schedule, store personnel did not make efforts to
help Spaeth adapt to the schedule change, as they had in prior
instances when her work responsibilities were altered.5 One
incident stood out as an exception in this regard: Store


    5 Dr. Smith testified that with appropriate coaching from her supervi-

sors, it was possible, although not certain, that Spaeth might have been
able to adapt to the new work schedule over time. R. 246 at 169.
10                                     Nos. 22-3202 &amp; 23-1021

Training Coordinator Debbie Moss testified that on one occa-
sion following the schedule change, she was clocking back
into the store from her 4:00 p.m. lunch break and noticed
Spaeth hovering near the time clock, although it was not yet
5:30 p.m. Spaeth remarked to Moss that she was tired and
wanted to go home. Moss asked her, “Is it time?” and Spaeth
acknowledged that it was not. Moss admonished Spaeth that
her shift was not yet over and encouraged Spaeth to help her
process store merchandise returns. Spaeth willingly did so,
completing her shift in that instance without incident. R. 247
at 113–14. Otherwise, however, Spaeth continued to struggle
with the new schedule.
   On July 10, Wal-Mart discharged Spaeth based on her at-
tendance infractions. By that time, Spaeth had accumulated
some 17 “occurrences,” with each occurrence representing
multiple incomplete shifts. Spaeth broke down crying when
Castro and Stern gave her the news. When she was escorted
from the store, she said, “I don’t understand.” R. 247 at 121.
When Moss explained to Spaeth that she was being let go be-
cause she was not complying with her new schedule, Spaeth
remarked, “I know, I should have worked.” Id. at 116.
    Spaeth’s sister, Stevenson, and her mother (then her legal
guardian) subsequently met with several Wal-Mart managers
to discuss Spaeth’s termination. Stevenson expressly invoked
Spaeth’s right to accommodation under the ADA and asked
that Spaeth be given her job back and restored to her old work
schedule. The managers in attendance understood that
Spaeth’s family members were asserting that Spaeth should
have been given a schedule accommodation but was not, in
violation of the ADA; they also interpreted Stevenson’s re-
marks as a threat that the family intended to file suit against
Wal-Mart if Spaeth was not reinstated and given her old
schedule back. Following this meeting, regional “People Di-
rector” (i.e., human resources manager) Lee Spude instructed
Nos. 22-3202 &amp; 23-1021                                       11

Wal-Mart personnel to cease communications with Spaeth’s
family.
    Store Manager Kent Abitz conducted what Wal-Mart re-
ferred to as a “red book” inquiry into the allegations of disa-
bility discrimination, focusing on whether Spaeth had vio-
lated Wal-Mart’s attendance policy. He did not interview
Spaeth or her sister, nor did he discuss a potential schedule
accommodation with store managers. He recommended up-
holding her discharge. Spude in turn agreed with Abitz’s rec-
ommendation. Spude would later testify at his deposition that
although a scheduling accommodation was considered as a
possibility in the course of the company’s inquiry, it was
never explored in any detail because the investigation sus-
tained Spaeth’s discharge and, as a result, she was no longer
the company’s employee. At trial, however, Spude said that
he did not consider Stevenson’s remarks at the post-discharge
meeting to have been a request for an accommodation (R. 247
at 233), although Spude agreed that Spaeth’s family had put
her ADA rights “into question” at that meeting (id. at 218).
Denise Morgan, an Ethics Manager at Wal-Mart’s national
headquarters, also sustained the termination, and in fact de-
termined that Wal-Mart had been too lenient in its handling
of Spaeth’s attendance infractions. Trial Ex. 32 at 5, EEOC
App. 235. (Whereas Spaeth had accumulated 17 occurrences
by the time she was discharged, the usual threshold for termi-
nation was seven.) Morgan advised the store managers in-
volved to be more strict in enforcing the company’s attend-
ance policy. Id. Having concluded that Spaeth was properly
discharged based on her attendance infractions and not based
on any animus related to her status as a person with a disabil-
ity, the company declined to reinstate Spaeth, although it left
open the possibility that Spaeth could reapply for a job at Wal-
Mart at any point in the future.
12                                      Nos. 22-3202 &amp; 23-1021

    As noted, the EEOC brought suit under the ADA challeng-
ing Wal-Mart’s failure to accommodate Spaeth’s disability by
not modifying her work schedule, and after a four-day trial,
the jury found in the EEOC’s favor. At trial, managers at the
Manitowoc store who had worked with Spaeth testified that
they did not understand Spaeth’s difficulties in adapting to
the new 1:00 to 5:30 p.m. work schedule to be connected to
her disability, or that her requests to return to her noon to 4:00
p.m. schedule amounted to a request for an accommodation
of her disability. The lone exception in this regard was store
Co-Manager Robin Castro. Although in the run-up to
Spaeth’s discharge, Castro did not understand Spaeth to be
asking for an accommodation to her disability, in retrospect,
she agreed that the requests by Spaeth and her sister to restore
her original work hours in fact did constitute a request for a
work schedule accommodation which, according to Wal-
Mart’s policies, could be made orally or in writing, by the em-
ployee or through a family member or friend, and did not
need to include any specific words. Per Wal-Mart’s protocols,
such an accommodation request should have been forwarded
to human resources personnel, who in turn would submit the
request to Wal-Mart’s national disability accommodations
services center. Yet, as the trial testimony made clear, no one
at the Manitowoc store had taken any steps to initiate consid-
eration of a possible schedule accommodation for Spaeth: no
one printed the requisite accommodation request form for her
(or a family member); and no one passed along her request
for a schedule change to the appropriate personnel. Wal-Mart
witnesses also took the position, inter alia, that the company’s
policies did not permit long-term schedule modifications and
that the company did not grant such accommodations in prac-
tice. Again, Castro stood out as the lone exception in this re-
gard: she believed, in retrospect, that Spaeth should have
been granted a schedule modification as an accommodation
to her disability. R. 246 at 58–59.
Nos. 22-3202 &amp; 23-1021                                         13

    The jury’s special verdict included findings that (1) Wal-
Mart was aware that Spaeth needed an accommodation due
to her disability; (2) Wal-Mart could have accommodated her
without undue hardship; and (3) Wal-Mart failed to provide
Spaeth with a reasonable accommodation, discharged her,
and declined to reinstate her, all in violation of the ADA.
R. 248 at 118–19; R. 236. The jury awarded her $150,000 in
compensatory damages and $125 million in punitive dam-
ages. R. 248 at 119–20; R. 236. The district court reduced the
punitive damages to $150,000 in order to bring the total award
in line with the ADA’s damages cap of $300,000 for large em-
ployers. R. 248 at 123; see 42 U.S.C. § 1981a(b)(3)(D). The court
additionally awarded equitable relief in the form of $44,757.80
in backpay, $5,978.63 in prejudgment interest, and $68,926.16
for tax consequences, for a total monetary award of
$419,662.59. R. 266 at 8–12; R. 273, 274.
    The EEOC filed a motion asking that the court order
Spaeth reinstated to her position with Wal-Mart and also re-
questing a variety of other injunctive measures bearing on
Wal-Mart’s disability-related policies and practices. R. 251,
252. The district court agreed to order Spaeth reinstated and
also to order that Wal-Mart contact Spaeth’s guardian regard-
ing any future coaching, disciplinary, or accommodation is-
sues. R. 266 at 7–8. (Spaeth subsequently declined to return to
Wal-Mart.) But the court declined to order the additional
forms of injunctive relief that the EEOC requested, which in
general terms were aimed at preventing a recurrence of what
had happened to Spaeth. The court indicated that the sorts of
injunctive relief the EEOC was seeking were for the most part
directives that Wal-Mart obey the law (R. 266 at 4–5), a form
of relief that is appropriate only where the evidence suggests
that the employer’s illegal conduct may persist and that
“must be evaluated with great care” when sought. EEOC v.
AutoZone, Inc., 707 F.3d 824, 842 (7th Cir. 2013). In the district
14                                        Nos. 22-3202 &amp; 23-1021

court’s view, the evidence did not show that Wal-Mart was
likely to repeat its illegal conduct in the future; it was satisfied
that the firm’s existing policies and training were sufficient to
head off such conduct. R. 266 at 4–7, 8.
    For its part, Wal-Mart filed a post-trial motion arguing
that (1) the evidence was insufficient to support a finding that
Wal-Mart knew that Spaeth’s difficulty adjusting to her new
work schedule was linked to her Down syndrome; (2) the ev-
idence did not support an award of punitive damages; and
(3) the $150,000 award of compensatory damages should be
remitted to $15,000. R. 277, 278. The district court rejected
each of these arguments. First, as to Wal-Mart’s knowledge of
a link between Spaeth’s disability and her difficulty working
the new schedule, the court noted testimony indicating that
Wal-Mart’s managers were aware that Spaeth needed extra
support when changes were made to her routine. Prior to
Spaeth’s termination, Stevenson had informed store Person-
nel Coordinator Becker that Spaeth could not handle the new
work schedule due to her Down syndrome, and after the ter-
mination, Stevenson had met with Spaeth’s managers and
asked that Spaeth be reinstated and granted a schedule ac-
commodation under the ADA due to her Down syndrome.
Thus, the jury could reasonably have found that Wal-Mart
knew of the connection between Spaeth’s disability and her
need to stay with her original work schedule. R. 283 at 4–5.
Second, as to punitive damages, the court reasoned that the
jury was entitled to discredit Wal-Mart’s position that it had
simply misunderstood its obligations under the ADA and had
genuinely wanted to help Spaeth. Rather, the jury reasonably
could have found that Wal-Mart, knowing that Spaeth’s at-
tendance problems were related to her disability, nonetheless
declined to entertain her request for a schedule accommoda-
tion, in reckless disregard of her rights under the statute. Id.at 5–6. Third, the court deemed the evidence sufficient to
Nos. 22-3202 &amp; 23-1021                                          15

support the award of compensatory damages, noting that
Spaeth experienced distress and confusion when she was ter-
minated, exhibited symptoms of memory loss, and was diag-
nosed with depression for which medication was prescribed.
The court did not agree that the $150,000 award grossly ex-
ceeded those in comparable cases and thus rejected Wal-
Mart’s request for a remittitur. Id. at 7–8.
                               II.
1. Evidence of a link between Spaeth’s disability and her inability
   to adapt to the new work schedule.
    Wal-Mart repeats the argument it made unsuccessfully to
the district court that the EEOC failed to prove that the com-
pany was aware that Spaeth’s inability to adapt to the new
work schedule, along with her request that Wal-Mart rein-
state her original noon to 4:00 p.m. schedule, were linked to
her disability, such that it should have treated the request as
one for a reasonable accommodation under the ADA. See 42
U.S.C. § 12112(b)(5)(A) (employer violates the ADA if it fails
to make “reasonable accommodations to the known physical
or mental limitations of an otherwise qualified individual
with a disability”) (emphasis added). The briefs discuss two
paths by which the jury could have found that Wal-Mart had
the requisite awareness on this point: (1) that Spaeth or her
representatives made the company aware of a medically nec-
essary accommodation, or (2) Spaeth’s need for an accommo-
dation was obvious. We view these as being two sides of the
same inquiry: does the evidence support the jury’s finding
that Wal-Mart was made aware of the link between Spaeth’s
disability and her inability to comply with the new work
schedule? Viewing the evidence favorably to the EEOC, the
answer is yes.
16                                      Nos. 22-3202 &amp; 23-1021

    First, there is no dispute that Wal-Mart knew Spaeth had
a disability: the fact that Spaeth had Down syndrome was ob-
vious to Wal-Mart managers, as they acknowledged at trial.
   Second, store managers knew from past experience that
Spaeth had difficulty coping with changes to her routine: for
example, she had previously found it difficult when new
tasks were added to her job responsibilities. Managers knew
that Spaeth required extra time, attention, and patience when
she was asked to modify her work routines.
    Third, in November 2014, when Spaeth’s schedule was
changed from a noon to 4:00 p.m. shift to a 1:00 to 5:30 p.m.
shift, Spaeth exhibited immediate and obvious difficulties in
complying with the new schedule. After 15 years of reliable
work attendance, Spaeth was suddenly clocking out hours
early, expressing fears that she would miss her bus or her din-
ner, and on multiple occasions was absent altogether without
notice. When admonished about not working her new sched-
ule, Spaeth repeatedly expressed confusion, insisting that her
schedule was 12:00 to 4:00 p.m. and asking that she be re-
stored to that schedule. A reasonably astute manager, having
in mind the prior challenges Spaeth had experienced in han-
dling new duties, however straightforward they were, might
have considered whether her inability to adapt to the new
schedule could be due to her Down syndrome. See 29 C.F.R.
Pt. 1630 app., § 1630.9 (“If an employee with a known disabil-
ity is having difficulty performing his or her job, an employer
may inquire whether the employee is in need of a reasonable
accommodation.”); Bultemeyer v. Ft. Wayne Cmty. Sch., 100
F.3d 1281, 1285 (7th Cir. 1996) (“[P]roperly participating in the
interactive process means that an employer cannot expect an
employee to read its mind and know that he or she must spe-
cifically say ‘I want a reasonable accommodation,’ particu-
larly when the employee has a mental illness. The employer
has to meet the employee half-way, and if it appears that the
Nos. 22-3202 &amp; 23-1021                                                 17

employee may need an accommodation but doesn't know
how to ask for it, the employer should do what it can to
help.”).
     The jury also could have found that any doubts on this
score were resolved when Stevenson, both before and after
Spaeth’s discharge, expressly advised Wal-Mart managers
that Spaeth could not adapt to the new schedule because of
her Down syndrome. 6 And of course, following the discharge,
Stevenson expressly invoked Spaeth’s rights under the ADA
and asserted that the company had failed to reasonably ac-
commodate Spaeth’s disability by refusing to reinstate her
original work schedule. See id. at 1286 (noting that when em-
ployer received doctor’s note shortly after it discharged plain-
tiff, it could have used the opportunity to reconsider the ter-
mination decision and to involve plaintiff and his physician
in the discussion).
    Wal-Mart insists that these discussions were not sufficient
to place it on notice that a schedule accommodation was med-
ically necessary, because Wal-Mart was never given a doctor’s
note or other medical evidence supporting Stevenson’s asser-
tions. But here the key point is that Wal-Mart never asked. In
view of the evidence we just discussed, the jury could have
found that Spaeth and Stevenson had requested a schedule
accommodation to Spaeth’s disability. At that point, Wal-
Mart would have been within its rights to ask for medical ev-
idence backing up the notion that Spaeth required an accom-
modation because her Down syndrome rendered her unable

    6 Wal-Mart points out that Stevenson did not articulate the particular

theory that the EEOC presented at trial, that individuals with Down syn-
drome have difficulty adapting to changes in their routine. But the im-
portant point is that Stevenson did alert Wal-Mart to the connection be-
tween Spaeth’s disability and her difficulty complying with the new work
schedule.
18                                      Nos. 22-3202 &amp; 23-1021

to adapt to the new work schedule. But things never pro-
gressed that far: Wal-Mart dismissed Spaeth’s requests out of
hand. True enough, this court did say in Ekstrand v. Sch. Dist.
of Somerset, 583 F.3d 972, 976 (7th Cir. 2009), “that disabled
employees must make their employers aware of any nonob-
vious, medically necessary accommodations with corroborat-
ing evidence such as a doctor's note or at least orally relaying
a statement from a doctor, before an employer may be re-
quired under the ADA's reasonableness standard to provide
a specific modest accommodation the employee requests.”
Thus, if any of Wal-Mart’s managers had asked Stevenson to
supply such evidence and none was forthcoming, Wal-Mart
might have a point.
    But Wal-Mart is essentially suggesting that it had no duty
to consider the possibility of an accommodation, and no duty
to engage in the interactive process on accommodations that
the ADA case law envisions, unless and until the employee,
without being asked, came forward with the requisite medical
documentation. This notion is inconsistent with the interac-
tive nature of the accommodation process itself. We have
pointed out in multiple cases that when clarification is needed
as to the nature of an employee’s disability or the particular
accommodation required, it is the employer’s responsibility
to solicit that information from the employee. See Rowlands v.
UPS – Ft. Wayne, 901 F.3d 792, 801 (7th Cir. 2018); Lawler v.
Peoria Sch. Dist. No. 150, 837 F.3d 779, 786–87 (7th Cir. 2016)
(per curiam); EEOC v. Sears, Roebuck &amp; Co., 417 F.3d 789, 803–
04 (7th Cir. 2005); Bultemeyer, 100 F.3d at 1285–86; see also Ma-
las v. Hinsdale Twp. Dist. #86, No. 15-cv-10490, 2019 WL
2743590, at * 21 (N.D. Ill. July 1, 2019) (employer “could not
simply ignore Plaintiff’s request for an accommodation until
Plaintiff figured out that Defendant required medical docu-
mentation”). Wal-Mart knew better than anyone else what in-
formation it would need to evaluate Spaeth’s request for a
Nos. 22-3202 &amp; 23-1021                                       19

schedule accommodation; neither Spaeth nor her family
members could be expected to read the company’s mind. See
Bultemeyer, 100 F.3d at 1285. If Wal-Mart needed information
from Spaeth’s physician supporting the requested accommo-
dation, it was obligated to ask for it. Indeed, that is what its
own accommodation policy for Wisconsin employees stated:
“When you request an accommodation, we may request that
you provide medical documentation regarding your condi-
tion in order to assist us in evaluating your request. When re-
quested, you must provide medical documentation from a
health care professional … .” Trial Ex. 1061, Wal-Mart Supp.
App. 84 (emphasis added).
    There is ample evidence in the record that Wal-Mart was
on notice that a schedule accommodation for Spaeth was
medically necessary, particularly once Stevenson intervened
on Spaeth’s behalf to advise Wal-Mart’s managers that
Spaeth’s Down syndrome made it extremely difficult for
Spaeth to adapt to her new work schedule. At that point, Wal-
Mart had a duty to seek out from Spaeth and her family mem-
bers whatever medical documentation it needed to corrobo-
rate the medical need for an accommodation and to explore
what type of accommodation would be suitable.
2. Sufficiency of evidence as to punitive damages.
   Punitive damages are warranted when an employer acts
“in the face of a perceived risk” that its conduct violates fed-
eral law. Kolstad v. Am. Dental Ass’n, 527 U.S. 526, 536 (1999).
Malice is not necessarily required; reckless indifference will
suffice. 42 U.S.C. § 1981a(b)(1); Kolstad, 527 U.S. at 535–36;
EEOC v. Flambeau, Inc., 846 F.3d 941, 947 (7th Cir. 2017).
   Wal-Mart repeats the argument that it did not know that
Spaeth’s disability was the reason for her inability to adapt to
the new work schedule and that she needed an
20                                        Nos. 22-3202 &amp; 23-1021

accommodation—Wal-Mart insists that it simply committed
an honest mistake.
    But for all of the reasons discussed above, there was ample
evidence supporting the jury’s finding that Wal-Mart had no-
tice of the link between Spaeth’s disability and her trouble
with the new schedule, particularly once her sister intervened
and told Wal-Mart’s managers precisely this. Yet even after
Spaeth’s mother and sister met with Wal-Mart managers fol-
lowing Spaeth’s discharge and invoked her right to a sched-
ule accommodation under the ADA, Wal-Mart still did noth-
ing to address the possibility of an accommodation: it did not
consider whether, given what it was hearing from Spaeth’s
family members, Spaeth’s disability may have contributed to
her failure to show up for work and to her pattern of leaving
work early; it did not reconsider its rationale for discharging
Spaeth in light of this information; it did not ask Spaeth’s fam-
ily for corroboration from a physician, if that is what it
needed; and it did not meaningfully consider whether it
would have been feasible to grant Spaeth the scheduling ac-
commodation she and her family members had requested. In-
stead, Wal-Mart limited its post-discharge investigation to the
question of whether Spaeth in fact was guilty of multiple at-
tendance infractions despite warnings and, once it answered
that question in the affirmative, deemed the discharge deci-
sion valid and considered the matter closed. Finally, as the
district court noted, it is telling that, at Spude’s direction, Wal-
Mart personnel cut off communications with Spaeth’s family
after the post-discharge meeting despite Stevenson’s invoca-
tion of the ADA and Spaeth’s right to an accommodation at
that meeting. The jury reasonably could have found that Wal-
Mart’s course of action was wholly contrary to the interactive
process that the ADA jurisprudence calls for.
    All of this is consistent with Wal-Mart being recklessly in-
different to Spaeth’s statutory rights as an individual with a
Nos. 22-3202 &amp; 23-1021                                       21

disability. The company no doubt was an excellent employer
to Spaeth in other respects, but the jury reasonably could have
found that Wal-Mart abdicated its responsibilities under the
ADA in failing to assess whether Spaeth’s attendance prob-
lems were due to her disability and whether a schedule ac-
commodation would have been feasible. Indeed, the fact that
Morgan, Wal-Mart’s national ethics manager, indicated that
the managers at Wal-Mart’s Manitowoc store had been too le-
nient with Spaeth’s attendance infractions could have been
construed as reflecting a callous indifference to Spaeth’s situ-
ation. The jury had ample reason to award Spaeth punitive
damages. (And the reduced amount of $150,000, in compli-
ance with the ADA damages cap, was of course reasonable.)
3. Whether the compensatory damage award of $150,000 should
   have been reduced.
    Wal-Mart argues that the district court should have remit-
ted the compensatory damage award by 90 percent to $15,000
because, in its view, the evidence was insufficient to support
more than a minimal award. We review the district court’s
decision not to remit the award for abuse of discretion. E.g.,
Green v. Howser, 942 F.3d 772, 773 (7th Cir. 2019). “Two factors
guide our analysis: whether the jury’s verdict is rationally re-
lated to the evidence and ‘whether the award is roughly com-
parable to awards made in similar cases.’” Id. (quoting Adams
v. City of Chicago, 798 F.3d 539, 543 (7th Cir. 2015)) (footnote
omitted).
    It is undisputed that Spaeth was greatly distressed at Wal-
Mart’s decision to discharge her. Spaeth was proud of her
work at Wal-Mart, R. 245 at 39, and the portion of her annual
reviews reserved for her own comments indicated that she
liked her job and enjoyed helping people. E.g., R. 245 at 115,
116. Spaeth told the jury that she was “upset” when Wal-Mart
fired her, that she missed her job and “all the people,” and
that she feels sad when she sees a Wal-Mart truck. R. 246 at
22                                            Nos. 22-3202 &amp; 23-1021

119, 120, 122. Dr. Smith testified, “This was her life. She had
done it for 15 years. And that was taken away.” R. 246 at 153.
No doubt most discharged employees are dismayed by their
employer’s decision to let them go, but of course Spaeth,
given her disability, had a limited ability to put into
perspective the company’s decision to terminate her. “Why
me?” she asked her sister. “Why did they do this to me? Why
me?” R. 245 at 57; id. at 48. The jury might have found that
Spaeth’s disability magnified her emotional injury.
Stevenson’s testimony (as well as that of Spaeth’s roommate,
Barbara Barnes) established that Spaeth’s distress continued
in the days immediately after the discharge, and that her
sadness persisted for years. When Dr. Smith interviewed
Spaeth in 2017, more than two years after her discharge, she
remarked that “every day is a bad day.” R. 246 at 146. Smith
noted that Spaeth had lost her sense of purpose, and that the
loss of her job had resulted in a decline in Spaeth’s social
skills. R. 245 at 60. He diagnosed Spaeth with depression (in
addition to memory loss) and prescribed the anti-depressant
medication that Spaeth was still taking at the time of trial. 7 To
be sure, the testimony of these witnesses was not expansive,
but it included both first- and third-person confirmation,
including a physician’s opinion, as to the adverse emotional
and physical effects of Wal-Mart’s decision to discharge
Spaeth. See Schandelmeier-Bartels v. Chicago Park Dist., 634 F.3d
372, 390 (7th Cir. 2011) (noting we have sustained substantial
compensatory-damage awards when they are supported by
“first- and third-person testimony regarding ongoing
emotional and physical effects of the discrimination suffered
by the plaintiffs”). The jury was entitled to credit this



     7 Smith testified that, in his experience, depression among those with
Down syndrome who have lost their jobs is common. R. 246 at 153.
Nos. 22-3202 &amp; 23-1021                                        23

testimony, which amounts to a sufficient basis for the
compensatory damage award.
    Wal-Mart argues that the damages should be reduced be-
cause Spaeth’s mother died not long after she was discharged
and Spaeth’s depression just as likely stemmed from her
mother’s passing as from her termination. But the likelihood
that her mother’s death may have contributed to Spaeth’s de-
pression does not somehow weaken the evidentiary basis for
the award. Emotional injuries may often have multiple
causes, but the jury was entitled to infer that Wal-Mart’s de-
cision to discharge Spaeth was a major cause, if not the pri-
mary cause, of her depression. The testimony that, for years,
Spaeth covered her face whenever she saw a Wal-Mart com-
mercial tends to confirm that very point. The award of com-
pensatory damages was rationally related to the evidence.
    The award was also roughly comparable to
compensatory-damage awards in other cases. This is not a
case like Marion Cnty. Coroner’s Office v. EEOC, 612 F.3d 924,
931 (7th Cir. 2010) (racially-motivated discharge of county
official in violation of 42 U.S.C. § 2000e-16c), where we
ordered a remittitur of a $200,000 award in view of the fact
that the award rested entirely on the plaintiff’s own extremely
brief testimony. Again, in this case, multiple witnesses,
including a medical doctor, established that Spaeth
experienced significant and lasting emotional distress and
depression as the result of the loss of her job. Comparable
cases have resulted in similar if not greater awards. See, e.g.,
Vega v. Chicago Park Dist., 954 F.3d 996, 1008–09 (7th Cir. 2020)
(upholding statutory-maximum award of $300,000 in Title VII
and § 1983 national-origin discrimination case); Farfaras v.
Citizens Bank &amp; Trust Co. of Chicago, 433 F.3d 558, 566–67 (7th
Cir. 2006) (upholding award of $200,000 in Title VII sexual
harassment case); Deloughery v. City of Chicago, 422 F.3d 611,
620–21 (7th Cir. 2005) (upholding remitted award of $175,000
24                                      Nos. 22-3202 &amp; 23-1021

in Title VII and First Amendment retaliation case).

4. Injunctive relief.
    The EEOC cross-appeals the denial of most of the injunc-
tive relief it requested. As noted above, although the district
court agreed to order Spaeth’s reinstatement and to require
that Wal-Mart take certain steps on the assumption that
Spaeth would accept reinstatement (which she ultimately did
not), the court denied the EEOC’s requests for other injunctive
relief related to accommodation requests generally. We re-
view a district court's denial of injunctive relief for abuse
of discretion, its factual determinations for clear error, and its
legal conclusions de novo, and we give deference to the
court's balancing of equitable factors. EEOC v. Wal-Mart
Stores, Inc., 38 F.4th 651, 661 (7th Cir. 2022).
    Under the ADA, once a “court finds that the [employer]
has intentionally engaged in … an unlawful employment
practice,” the court “may enjoin the [employer] from engaging
in such unlawful employment practice” and order “any other
equitable relief as the court deems appropriate.” 42 U.S.C.
§ 2000e-5(g)(1) (Title VII) (emphasis added); see id. § 12117(a)
(making remedies set forth in § 2000e-5 available in ADA
cases). As the statute’s use of the word “may” indicates, this
is a discretionary call on the district court’s part. Proof that
the employer had previously engaged in widespread discrim-
ination or has engaged in any documented discrimination be-
yond the case at hand is not a prerequisite to injunctive relief
addressing the type of discrimination that the plaintiff has
proven. AutoZone, 707 F.3d at 840. This court has noted that
such relief is warranted if it appears that “the employer’s dis-
criminatory conduct could possibly persist in the future.”
Bruso v. United Airlines, Inc., 239 F.3d 848, 864 (7th Cir. 2001)
(citation omitted). Once a plaintiff has shown that the em-
ployer engaged in intentional discrimination in the instant
Nos. 22-3202 &amp; 23-1021                                      25

case, it becomes the employer’s burden to “prove that the dis-
crimination is unlikely to continue” or that “the claimant’s
case is somehow different from the norm.” AutoZone, 707 F.3d
at 840.
    Apart from the specific injunctive relief the EEOC sought
with respect to Spaeth (which became moot once she ruled
out the prospect of returning to Wal-Mart), the EEOC sought
additional injunctive relief, some applicable to Wal-Mart as a
whole and some applicable only to Wal-Mart’s Region 53
(comprising 114 stores, including the Manitowoc store, and
some 30,000 employees). The EEOC proposed that these re-
quested measures be imposed for a period of five years. With
respect to Wal-Mart as a whole, the EEOC sought two related
injunctive provisions, one prohibiting Wal-Mart from deny-
ing reasonable accommodations to disabled employees (in the
absence of undue hardship) on the ground that the requested
accommodations are indefinite, long-term, or permanent, and
the second requiring Wal-Mart to modify its accommodation
polices to clarify that these types of accommodations are, in
fact, available to disabled employees. As to Region 53, the
EEOC sought a suite of injunctive relief—narrow in certain
instances (requiring notice to employees of the verdict in
Spaeth’s favor and advising them of their right to contact the
EEOC without fear of retaliation) but more expansive in oth-
ers (for example, requiring that Region 53 notify the EEOC of
any requests for accommodation and to document the steps it
had taken in response to such a request, provide training to
its managers as to work-schedule accommodations under the
ADA, and document and evaluate the company’s adherence
to its equal employment opportunity polices during the an-
nual review process for certain managerial employees).
    The district court denied the EEOC’s “broad requests for
relief” in the first instance because they were “for the most
part, directives that Wal-Mart obey the law” and to that extent
26                                     Nos. 22-3202 &amp; 23-1021

were “inappropriate.” R. 266 at 4. The assertion that the EEOC
was asking for an “obey the law” injunction was certainly true
in at least one instance—the EEOC asked that Wal-Mart be
enjoined from denying reasonable accommodations to em-
ployees with disabilities in Region 53—and arguably it was
also true of a more focused variant of that relief—the request
that Wal-Mart as a whole be enjoined from denying a reason-
able accommodation on the ground that the accommodation
at issue is indefinite, long-term, or permanent. But it was in-
correct to write off all seven of the injunctions requested by
the EEOC as “obey the law” injunctions, particularly where
some of them (including the provisions requiring that the
company notify employees of the verdict and train its super-
visors and managers regarding the propriety of schedule ac-
commodations) relate specifically to the type of misconduct
that Wal-Mart committed in this case and are aimed at pre-
venting a recurrence.
    The district court also reasoned that “the relief requested
is redundant to Wal-Mart’s existing policies.” R. 266 at 5. That
may be true in the main: Wal-Mart does have comprehensive
non-discrimination policies that include provisions address-
ing disability accommodations. But as the EEOC’s briefs point
out, Spaeth’s case illuminated at least two shortcomings in the
way Wal-Mart managers handled her request for reinstate-
ment of her original work schedule: (1) store personnel utterly
failed to treat the request as a request for an accommodation
and initiate the constructive, give-and-take process that the
ADA, the case law, and Wal-Mart’s own policies require, even
after Stevenson alerted store managers to the connection be-
tween Spaeth’s disability and her difficulties in complying
with her new work schedule; and (2) Wal-Mart managers
were evidently under the impression that long-term schedule
modifications could not be granted to an employee, which ar-
guably was consistent with the company-wide directive that
Nos. 22-3202 &amp; 23-1021                                         27

was issued to managers in 2014 that the computer-generated
schedules not be modified except for business reasons. And
many of these managers are still working for Wal-Mart. This
reveals a second oversight in the district court’s analysis: it
did not take into account the totality of the trial evidence bear-
ing on why Spaeth was denied an accommodation in her
work schedule. Some of the circumstances in this case were
unique to Spaeth, including the difficulties she had comply-
ing with the new work schedule as a result of her Down syn-
drome. But others—including the company’s unwillingness
to entertain the possibility of a long-term schedule accommo-
dation—were not. Although Wal-Mart now concedes that its
disability policies allow for long-term schedule accommoda-
tions, the contrary position that Wal-Mart witnesses took at
trial certainly presents the possibility that other employees
might be denied such an accommodation if sought.
    We accept the district court’s additional observation that
the trial evidence did not disclose any animus or ill will on
Wal-Mart’s part toward Spaeth individually or more gener-
ally toward employees with intellectual disabilities. R. 266 at
6. See Wal-Mart, 38 F.4th at 661–62 (although discriminatory
animus is not a prerequisite to injunctive relief, it may be con-
sidered as a factor bearing on the propriety of such relief). But
the shortcomings in its response to Spaeth’s request for a
schedule accommodation raise the possibility that this may
have been more than an isolated incident. Wal-Mart is a na-
tional employer with over one million workers on its payroll.
It seems unlikely that Spaeth would be the first or the last em-
ployee with a disability who might need a work-schedule ac-
commodation but who might also have difficulty invoking
her rights under the ADA.
    Intentional discrimination against Spaeth was established
in this case, and as a result it was Wal-Mart’s burden to estab-
lish that its discriminatory conduct is unlikely to recur, rather
28                                      Nos. 22-3202 &amp; 23-1021

than the EEOC’s burden to show the opposite. AutoZone, 707
F.3d at 840. The district court acknowledged the burden but,
in the course of explaining why it believed the proposed in-
junctive measures duplicated Wal-Mart’s existing policies,
the court also remarked that “the EEOC has not shown that
‘the proven illegal contact may be resumed.’” R. 266 at 5
(quoting AutoZone, 707 F.3d at 842). Because we think it ap-
propriate for the district court to take a second look at the
forms of injunctive relief requested by the EEOC, the court
can take the opportunity on remand to reconsider whether
Wal-Mart has carried its burden on this point.
    For all of these reasons, we will vacate and remand the
judgment as to the EEOC’s requests for injunctive relief and
remand for reconsideration. We do so recognizing that
whether to grant relief is a discretionary call on the district
judge’s part. If what concerns the district court is the language
of the proposed injunctive provisions or the proposed period
of court oversight, the court is of course free to make appro-
priate revisions. And, of course, our directive to reconsider
the possibility of injunctive relief should not be understood as
a signal that the district court must grant any such relief, let
alone any particular form of injunctive relief.
                              III.
   For the reasons we have discussed, we AFFIRM the jury’s
finding that Wal-Mart was liable for disability discrimination
as well as its award of compensatory and punitive damages.
We VACATE the judgment as to the denial of injunctive relief
and REMAND for further proceedings consistent with this
opinion.
